                  Case 2:09-mc-00239-MRH Document 46 Filed 08/31/20 Page 1 of 3



                             Application for Multi-Court Exemption from the
                         Judicial Conference's Electronic Public Access (EPA) Fees
1.) I am requesting an exemption from fees for public access to electronic case records for the courts
selected below:
 Courts of Appeal                              Bankruptcy Appellate Panels (BAP)
        All Courts of Appeal     Seventh Circuit        First Circuit - BAP
        First Circuit            Eighth Circuit         Sixth Circuit - BAP
        Second Circuit           Ninth Circuit          Eighth Circuit - BAP
        Third Circuit            Tenth Circuit          Ninth Circuit - BAP
        Fourth Circuit           Eleventh Circuit       Tenth Circuit - BAP
        Fifth Circuit            D.C. Circuit
        Sixth Circuit            Federal Circuit

  District Courts
        All District Courts
        Alabama Middle           Illinois Northern      Nebraska                   Rhode Island
        Alabama Northern         Illinois Central       Nevada                     South Carolina
        Alabama Southern         Illinois Southern      New Hampshire              South Dakota
        Alaska                   Indiana Northern       New Jersey                 Tennessee Eastern
        Arizona                  Indiana Southern       New Mexico                 Tennessee Middle
        Arkansas Eastern         Iowa Northern          New York Eastern           Tennessee Western
        Arkansas Western         Iowa Southern          New York Northern          Texas Eastern
        California Central       Kansas                 New York Southern          Texas Northern
        California Eastern       Kentucky Eastern       New York Western           Texas Southern
        California Northern      Kentucky Western       North Carolina Eastern     Texas Western
        California Southern      Louisiana Eastern      North Carolina Middle      Utah
        Colorado                 Louisiana Middle       North Carolina Western     Vermont
        Connecticut              Louisiana Western      North Dakota               Virgin Islands
        Delaware                 Maine                  Northern Mariana Islands   Virginia Eastern
        District of Columbia     Maryland               Ohio Northern              Virginia Western
        Florida Middle           Massachusetts          Ohio Southern              Washington Eastern
        Florida Northern         Michigan Eastern       Oklahoma Eastern           Washington Western
        Florida Southern         Michigan Western       Oklahoma Northern          West Virginia Northern
        Georgia Northern         Minnesota              Oklahoma Western           West Virginia Southern
        Georgia Middle           Mississippi Northern   Oregon                     Wisconsin Eastern
        Georgia Southern         Mississippi Southern   Pennsylvania Eastern       Wisconsin Western
        Guam                     Missouri Eastern       Pennsylvania Middle        Wyoming
        Hawaii                   Missouri Western       Pennsylvania Western
        Idaho                    Montana                Puerto Rico
                    Case 2:09-mc-00239-MRH Document 46 Filed 08/31/20 Page 2 of 3


    Bankruptcy Courts
          All Bankruptcy Courts
          Alabama Middle               Illinois Northern             Nebraska                           Rhode Island
          Alabama Northern             Illinois Central              Nevada                             South Carolina
          Alabama Southern             Illinois Southern             New Hampshire                      South Dakota
          Alaska                       Indiana Northern              New Jersey                         Tennessee Eastern
          Arizona                      Indiana Southern              New Mexico                         Tennessee Middle
          Arkansas Eastern             Iowa Northern                 New York Eastern                   Tennessee Western
          Arkansas Western             Iowa Southern                 New York Northern                  Texas Eastern
          California Central           Kansas                        New York Southern                  Texas Northern
          California Eastern           Kentucky Eastern              New York Western                   Texas Southern
          California Northern          Kentucky Western              North Carolina Eastern             Texas Western
          California Southern          Louisiana Eastern             North Carolina Middle              Utah
          Colorado                     Louisiana Middle              North Carolina Western             Vermont
          Connecticut                  Louisiana Western             North Dakota                       Virgin Islands
          Delaware                     Maine                         Northern Mariana Islands           Virginia Eastern
          District of Columbia         Maryland                      Ohio Northern                      Virginia Western
          Florida Middle               Massachusetts                 Ohio Southern                      Washington Eastern
          Florida Northern             Michigan Eastern              Oklahoma Eastern                   Washington Western
          Florida Southern             Michigan Western              Oklahoma Northern                  West Virginia Northern
          Georgia Northern             Minnesota                     Oklahoma Western                   West Virginia Southern
          Georgia Middle               Mississippi Northern          Oregon                             Wisconsin Eastern
          Georgia Southern             Mississippi Southern          Pennsylvania Eastern               Wisconsin Western
          Guam                         Missouri Eastern              Pennsylvania Middle                Wyoming
          Hawaii                       Missouri Western              Pennsylvania Western
          Idaho                        Montana                       Puerto Rico

National Courts
        Judicial Panel on                U.S. Court of            U.S. Court of
        Multidistrict Litigation         Federal Claims           International Trade

                                                    University of North Texas
2.) I am an individual associated with
3.) Please summarize why the case information from the Public Access to Court Electronic Records
(PACER) service is needed and how it will be used. Also, please explain why an exemption from
the courts identified is necessary. If you need more space, please provide in an attachment.
I am a PhD student, at University of North Texas. For my dissertation/research, I need information of U.S. companies against
which litigations were filed by its shareholders and environmental litigations filed against the companies. I do not have fundings
from the university nor thrid party for my dissertation. Hence as a graduate student, I would like to request for fee exemption so
that I can conduct my reserach work.
Thank you!
                   Case 2:09-mc-00239-MRH Document 46 Filed 08/31/20 Page 3 of 3



4.) In support of this application, I affirm the following:
     a) An exemption from the Judicial Conference's EPA Fee is necessary in order to avoid
     unreasonable burdens and to promote public access to information.
     b) That the exemption will be for a definitive period of time:   4 months

     c) I understand that this fee exemption will apply only to me, will be valid only for the purposes
     stated above, and will apply only to the electronic case files of the court(s) indicated above that are
     available through the PACER service.
     d) I agree that any data received through this exemption will not be sold for profit, will not be
     transferred, will not be used for commercial purposes, and will not be redistributed via the Internet.

      Declaration: I declare that all the above information is true and understand that a false statement
 ✖    may result in termination of my exempt access and an assessment of Electronic Public Access
      usage fees. (The box must be marked or your request will not be considered)


                                                                         8176090974
Ashupta Farjana
                                                          Applicant's Phone Number
Applicant's Printed Name                                            ashupta.farjana@unt.edu

MS.                                                       Applicant's email address
                                                          1600 West Oak Street, Apartment 17
Applicant's Title
                                                          Applicant's Mailing Address
                                                          Denton                      TX         76201
                                                          City                        State      Zip Code
Applicant's Signature
                                                                                          06/12/2020

     Add Attachment                                                                       Date

     Submit by Email


Please submit your completed, signed request via email to Multi-CourtExemptions@ao.uscourts.gov
or by mail to:
Attention: Multi-Court Exemptions
Court Programs Division
DPS-CSO-PRGD
One Columbus Circle, N.E.
Washington, DC 20544

            ** Requests sent through the US mail may take up to two weeks to clear security.**
